Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 1 of 14




                  EXHIBIT A
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 2 of 14



                                                                     Pgs-34

                                                                      8A




                                                         k
                                                      ler
                                                   tC
                                               ric
                                            ist
                                         lD
                                      nie
                                   Da
                                 is
                               hr
                            C
                          of
                        e
                     ffic
                  O
                  y
               op
            C
          ial
       fic
    of
  Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 3 of 14




                                                         k
                                                      ler
                                                   tC
                                               ric
                                            ist
                                         lD
                                      nie
                                   Da
                                 is
                               hr
                            C
                          of
                        e
                     ffic
                  O
                  y
               op
            C
          ial
       fic
    of
  Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 4 of 14




                                                         k
                                                      ler
                                                   tC
                                               ric
                                            ist
                                         lD
                                      nie
                                   Da
                                 is
                               hr
                            C
                          of
                        e
                     ffic
                  O
                  y
               op
            C
          ial
       fic
    of
  Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 5 of 14




                                                         k
                                                      ler
                                                   tC
                                               ric
                                            ist
                                         lD
                                      nie
                                   Da
                                 is
                               hr
                            C
                          of
                        e
                     ffic
                  O
                  y
               op
            C
          ial
       fic
    of
  Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 6 of 14




                                                         k
                                                      ler
                                                   tC
                                               ric
                                            ist
                                         lD
                                      nie
                                   Da
                                 is
                               hr
                            C
                          of
                        e
                     ffic
                  O
                  y
               op
            C
          ial
       fic
    of
  Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 7 of 14




                                                         k
                                                      ler
                                                   tC
                                               ric
                                            ist
                                         lD
                                      nie
                                   Da
                                 is
                               hr
                            C
                          of
                        e
                     ffic
                  O
                  y
               op
            C
          ial
       fic
    of
  Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 8 of 14




                                                         k
                                                      ler
                                                   tC
                                               ric
                                            ist
                                         lD
                                      nie
                                   Da
                                 is
                               hr
                            C
                          of
                        e
                     ffic
                  O
                  y
               op
            C
          ial
       fic
    of
  Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 9 of 14




                                                         k
                                                      ler
                                                   tC
                                               ric
                                            ist
                                         lD
                                      nie
                                   Da
                                 is
                               hr
                            C
                          of
                        e
                     ffic
                  O
                  y
               op
            C
          ial
       fic
    of
  Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 10 of 14




                                                          k
                                                       ler
                                                    tC
                                                ric
                                             ist
                                          lD
                                       nie
                                    Da
                                 is
                               hr
                             C
                           of
                         e
                      ffic
                  yO
               op
             C
          ial
        fic
     of
   Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 11 of 14




                                                          k
                                                       ler
                                                    tC
                                                ric
                                             ist
                                          lD
                                       nie
                                    Da
                                 is
                               hr
                             C
                           of
                         e
                      ffic
                  yO
               op
             C
          ial
        fic
     of
   Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 12 of 14




                                                          k
                                                       ler
                                                    tC
                                                ric
                                             ist
                                          lD
                                       nie
                                    Da
                                 is
                               hr
                             C
                           of
                         e
                      ffic
                  yO
               op
             C
          ial
        fic
     of
   Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 13 of 14




                                                          k
                                                       ler
                                                    tC
                                                ric
                                             ist
                                          lD
                                       nie
                                    Da
                                 is
                               hr
                             C
                           of
                         e
                      ffic
                  yO
               op
             C
          ial
        fic
     of
   Un
Case 19-03452 Document 1-20 Filed in TXSB on 05/03/19 Page 14 of 14




                                                          k
                                                       ler
                                                    tC
                                                ric
                                             ist
                                          lD
                                       nie
                                    Da
                                 is
                               hr
                             C
                           of
                         e
                      ffic
                  yO
               op
             C
          ial
        fic
     of
   Un
